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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

BCI ACRYLIC, INC., an Illinois corporation,         )
                                                    )
                             Plaintiff,             )   Case No. 18-cv-720
                                                    )
LUXURY BATH SYSTEMS & KITCHEN                       )
DESIGN STUDIO,                                      )    JURY TRIAL DEMANDED
                                                   )
                             Defendant.            )

               COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

       Plaintiff, BCI ACRYLIC, INC. ("BCI”), by and through its attorneys, for its

Complaint for Injunctive and Other Relief against Defendant, LUXURY BATH

SYSTEMS & KITCHEN DESIGN STUDIO (“LBS”), alleges as follows:

                                          PARTIES

       1.       BCI is an Illinois corporation with its registered office located in

Northbrook, Illinois. BCI’s headquarters are located in Libertyville, Illinois.

       2.       BCI is an independent manufacturer of acrylic bath liners, showers liners,

wall surrounds and related products for the bathroom remodeling industry. BCI is the

owner of the trademark “Luxury Bath Systems” registered in the United States Patent and

Trademark Office as registration number 3407998 (the “Trademark”). Exhibit A.

       3.       Pursuant to its website, LBS is a bathroom designer and remodeler with its

principal office located in Loves Park, Illinois. According to its website, LBS provides

services to customers similar to BCI throughout Rockford, Illinois, Northern Illinois and

Southern Wisconsin.
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                                JURISDICTION AND VENUE

       4.          This Complaint arises out of LBS’ violations of Section 43(a) of the

Lanham Act, 15 U.S.C. § 1125.

       5.          This Court's jurisdiction over BCI’s federal claims contained in this

Complaint is conferred by 28 U.S.C. §§ 1331 and 1338 as the claims relating to violations

of the Lanham Act implicate a violation of a federal statute.

       6.          Pursuant to 28 U.S.C. § 1391(b)(2), venue in this cause is proper in the

Northern District of Illinois because a substantial part of the events or omissions giving

rise to BCI’s claim occurred within the Northern District of Illinois.

                             FACTS COMMON TO ALL COUNTS

       7.          BCI is a leading home improvement manufacturer in acrylic wall surrounds

and bath liners.

       8.          BCI operates its business under a variety of trade names and trademarks,

which it has developed over a number of years.

       9.          BCI is well known by distributors in the home improvement industry and

among consumers.

       10.         BCI has dealers throughout the United States and Canada. BCI dealers

purchase products from BCI and sell BCI’s products to its consumers for installation in

their homes. Many of the BCI dealers utilize the BCI Trademark pursuant to written

agreements containing licensing provisions between the dealer and BCI. The Trademark

is of enormous value to BCI.

       11.         LBS is using BCI’s Trademark in its name, on its physical building


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location, on its website and in its advertisements without BCI’s authorization.

          12.   On January 9, 2018, BCI demanded, via written correspondence, that LBS

cease and desist from wrongfully using BCI’s Trademark. However, LBS has continued to

use BCI's Trademark without BCI’s authorization.

                                   COUNT I
                            TRADEMARK INFRINGEMENT

          13.   BCI realleges paragraphs 1 through 12 of the Complaint as if fully alleged
herein.

          14.   LBS is a competitor of BCI selling similar products to potential

customers of BCI.

          15.   LBS’ unauthorized use of BCI’s Trademark in commerce constitutes an

attempt to palm off and appropriate BCI's exclusive rights with respect to the Trademark

as it is likely to cause confusion as to the affiliation, connection or association of LBS

with BCI, or as to the origin, sponsorship, or approval of LBS’ goods, services or

commercial activities by BCI.

          16.   By reason of the foregoing, LBS has willfully violated Section 43 of the

Lanham .Act, 15 U.S.C. § 1125.

          17.   LBS’ wrongful use of the BCI Trademark is deliberate, willful, fraudulent

and without any extenuating circumstances, and constitutes a knowing use of BCI’s

Trademark and therefore falls within the purview of 15 U.S.C. § 1117.

          18.   BCI is therefore entitled to recover three times the amount of its actual

damages and the attorneys’ fees and costs incurred in this action, and prejudgment



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interest.

                                      COUNT II
                            FALSE DESIGNATION OF ORIGIN

          19.   BCI realleges paragraphs 1 through 18 of the Complaint as if fully alleged
herein.

          20.   LBS’ use of the Trademark constitutes a false designation of origin which is

likely to deceive and has deceived customers and prospective customers into believing that

LBS’ goods are that of BCI and, as a result, are likely to divert and have diverted customers

away from BCI.

          21.   BCI has no control over the nature and quality of the goods being offered by

LBS. Any failure, neglect or default by LBS in providing such goods will reflect adversely on

BCI as the believed source of origin thereof, hampering efforts by BCI to continue to protect

its outstanding reputation for high quality goods at a reasonable price. Such adverse reflection

has resulted and will result in loss of sales by BCI and the considerable expenditures by BCI to

promote its goods under its Trademark, all to the detriment of BCI.

                                           COUNT III
                                           DILUTION

          22.   BCI realleges paragraphs 1 through 21 of the Complaint as if fully alleged

herein.

          23.   LBS’ use and advertisement of its products under the Trademark are likely to

injure the business reputation of BCI and is likely to dilute the distinctive quality of BCI’s

name and product in violation of federal statutes.




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                                        COUNT IV
                                    INJUNCTIVE RELIEF

          24.    BCI realleges paragraphs 1 through 23 of the Complaint as if fully alleged

herein.

          25.    LBS’ unlawful actions as alleged herein have caused and, unless restrained,

will continue to cause, substantial and irreparable harm to BCI.

          26.     In addition, BCI’s legitimate business interests are being irreparably harmed

each day LBS is permitted to wrongfully utilize BCI's Trademark.

          27.    Because LBS is wrongfully using the Trademark, the potential for

confusion exists in that consumers will likely associate BCI with LBS.

          28.    As a result, BCI could lose business opportunities by consumers

associating BCI with LBS.

          29.     BCI has no adequate remedy at law as monetary damages are inadequate

to compensate BCI for the injuries caused by LBS.

          30.     Therefore, BCI is entitled to injunctive relief against LBS.

                                    PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, BCI Acrylic, Inc. prays that this Honorable Court:

          A.      Grant preliminary and permanent injunctive relief enjoining LBS, and all

others acting in concert with and having knowledge thereof, from using the BCI

Trademark, and any similar trade name or mark or variant thereof, as a trade name,

trademark, service mark, domain name, or for any other purpose;

          B.      Order LBS to account to BCI for any and all revenues and profits that


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LBS has derived from its wrongful actions and to pay to BCI all damages which BCI has

sustained by reason of the acts complained of herein, and that such damages be trebled;

        C.     Award BCI its costs and all reasonable attorneys' fees it has incurred in
this action;

       D.      Award BCI punitive damages;

       E.       Award BCI pre-judgment and post-judgment interest; and

       F.       Grant BCI any other relief the Court deems just.

                                                     Respectfully submitted,

                                                     BCI ACRYLIC, INC.



                                                     By:/s/ Elliot S. Wiczer
                                                            One of its Attorneys


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                               DEMAND FOR JURY TRIAL

       Plaintiff, BCI Acrylic, Inc., by and through its attorneys, hereby demands a jury trial in

the above captioned matter.

                                                     By: /s/Elliot S. Wiczer
                                                             One of its Attorneys




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